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                   IN THE UNITED STATES DISTRICT COURT
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                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                             Case No. 2:21-MJ-04430-DUTY
      UNITED STATES OF AMERICA,
13                                             ORDER OF DETENTION
                       Plaintiff,
14                                            [Fed. R. Crim. P. 31.1(a)(6);
                       v.                      18 U.S.C. § 3143(a)(1)]
15
      MARIELA HERNANDEZ,
16
                       Defendant.
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20                                            I.
21            On September 10, 2021, Defendant Mariela Hernandez("Defendant")
~~~ appeared before the Court for initial appearance on the petition and warrant for
23   revocation of supervised release issued in this matter, Case No. 2:21-MJ-04430-
24   DUTY. The Court appointed Adam Olin of the Federal Public Defender's Office
25   to represent Defendant.
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 1                                                 II.
 2         Pursuant to Federal Rule of Criminal Procedure 32.1(a)(6) and 18 U.S.C.
 3   § 3143(a)following Defendant's arrest for alleged violations) of the terms of
 4   Defendant's ❑probation / ❑x supervised release, the Court finds that:

 5          A.     D     Defendant submitted to the Government's Request for
 6   Detention;
 7         B.      ❑X    Defendant has not carried her burden of establishing by clear
 8   and convincing evidence that Defendant will appear for further proceedings as
 9 ' required if released [18 U.S.C. § 3142(b-c)]. This finding is based on:
10                • Absconded from supervision;
11                • No bail resources;
12                • Criminal history
13                • Nature of alleged offense;
14                • Noncompliance with United States Probation.
15         D.     D     Defendant has not carried her burden of establishing by clear
16   and convincing evidence that Defendant will not endanger the safety of any other
17 ' person or the community if released [18 U.S.C. § 3142(b-c)]. This finding is based
18   on:
19                • Criminal history;
20                • Nature of underlying conviction;
21                • Arrest while on Supervised Release;
22                • Pending criminal charges;
23                • Gang affiliation.
24
25                                          III.
26         In reaching this decision, the Court considered:(a)the nature and
27   circumstances ofthe offenses) charged, including whether the offense is a crime
28   of violence, a Federal crime of terrorism, or involves a minor victim or a controlled

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 1   substance, firearm, explosive, or destructive device;(b)the weight of evidence
 2   against the defendant;(c)the history and characteristics of the defendant; and
 3 (d)the nature and seriousness ofthe danger to any person or the community. [18
 4   U.S.C. § 3142(g).] The Court also considered the report and recommendation of
 5   the U.S. Pretrial Services Agency.

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 7                                          IV.
 8         IT IS THEREFORE ORDERED that Defendant be detained until trial. The
 9   defendant is remanded to the custody of the U.S. Marshal for forthwith removal to
10 ; the Southern District of California. The defendant will be committed to the custody
11   ofthe Attorney General for confinement in a corrections facility separate, to the
12   extent practicable, from persons awaiting or serving sentences or being held in
13   custody pending appeal. The defendant will be afforded reasonable opportunity
14   for private consultation with counsel. On order of a Court ofthe United States or
15   on request of any attorney for the Government, the person in charge of the
16   corrections facility in which defendant is confined will deliver the defendant to a
17   United States Marshal for the purpose of an appearance in connection with a court
18   proceeding. [18 U.S.C. § 3142(1).]
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     Dated: September 23, 2021                       /s/
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                                                MARIA A. AUDERO
22                                          UNITED STATES MAGISTRATE JUDGE
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